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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-194-KJM
12                                 Plaintiff,             STIPULATION REGARDING USE OF
                                                          VIDEOCONFERENCING DURING SENTENCING
13                           v.                           HEARING; [PROPOSED] FINDINGS AND
                                                          ORDER
14   GREGORIO MORENO-VALENCIA,
                                                          DATE: July 13, 2020
15                                Defendant.              TIME: 9:00 a.m.
                                                          COURT: Hon. Kimberly J. Mueller
16

17                                               BACKGROUND
18          On March 9, 2020, the defendant, Gregorio Moreno-Valencia, entered a plea of guilty to
19 violating 21 U.S.C. §§ 846, 841(a)(1), conspiracy to manufacture at least 100 marijuana plants (the

20 lesser included offense to Count One of the indictment), 18 U.S.C. § 924(c), possession of a firearm in

21 furtherance of a drug trafficking offence (Count Three), and 18 U.S.C. § 1361, depredation of United

22 States Property. ECF No. 55. The case is set for Judgment and Sentencing on July 13, 2020, and the

23 parties are prepared to proceed with the hearing on that day. In preparation for that hearing, the parties

24 respectfully submit this stipulation and proposed order, providing a basis for the Court to find that the

25 defendant acknowledges that he has the right to be physically present at this hearing, agrees to waive

26 that right, and consents to proceed with the hearing remotely, by videoconference, on the basis that

27 delay to this hearing could result in serious harm to the interests of justice.

28          On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act

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 1 (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States and Chief

 2 District Judges to authorize plea and sentencing hearings by video or telephonic conference when 1)

 3 such hearings “cannot be conducted in person without seriously jeopardizing public health and safety;”

 4 and 2) “the district judge in a particular case finds for specific reasons that the plea or sentencing in that

 5 case cannot be further delayed without serious harm to the interests of justice.” Id., Pub. L. 116-23

 6 § 15002(b)(2).

 7          On March 29, 2020, the Judicial Conference of the United States made the findings required by

 8 the CARES Act, concluding that “emergency conditions due to the national emergency declared by the

 9 President under the National Emergencies Act (50 U.S.C. § 1601, et seq.) with respect to the

10 Coronavirus Disease 2019 (COVID-19) have materially affected and will materially affect the

11 functioning of the federal courts generally.”

12          On March 30, 2020, the Chief Judge of this District, per General Order 614, also made the

13 findings required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of Criminal

14 Procedure and felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be

15 conducted in person without seriously jeopardizing public health and safety.” Accordingly, the findings

16 of the Judicial Conference and General Order 614 establish that plea and sentencing hearings cannot

17 safely take place in person.

18           In order to authorize judgment and sentencing hearings by remote means, however, the CARES

19 Act—as implemented by General Order 614—also requires district courts in individual cases to “find,

20 for specific reasons, that felony pleas or sentencings in those cases cannot be further delayed without

21 serious harm to the interests of justice.” General Order 614 further requires that the defendant consent

22 to remote proceedings. Finally, the remote proceeding must be conducted by videoconference unless

23 “videoconferencing is not reasonably available.” In such cases, district courts may conduct hearings by

24 teleconference. General Order 618, entered on May 13, 2020, confirmed that General Order 614

25 remains in effect.

26                                                 STIPULATION

27          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

28 through defendant’s counsel of record, hereby stipulate as follows:

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 1          1.      The Governor of the State of California declared a Proclamation of a State of Emergency

 2 to exist in California on March 4, 2020.

 3          2.      On March 13, 2020, the President of the United States issued a proclamation declaring a

 4 National Emergency in response to the COVID-19 pandemic.

 5          3.      In their continuing guidance, the Centers for Disease Control and Prevention (CDC) and

 6 other public health authorities have suggested the public avoid social gatherings in groups of more than

 7 10 people and practice physical distancing (within about six feet) between individuals to potentially

 8 slow the spread of COVID-19. The virus is thought to spread mainly from person-to-person contact,

 9 and no vaccine currently exists.

10          4.      These social distancing guidelines – which are essential to combatting the virus – are

11 generally not compatible with holding in-person court hearings.

12          5.      On March 17, 2020, this Court issued General Order 611, noting the President and

13 Governor of California’s emergency declarations and CDC guidance, and indicating that public health

14 authorities within the Eastern District had taken measures to limit the size of gatherings and practice

15 social distancing. The Order suspended all jury trials in the Eastern District of California scheduled to

16 commence before May 1, 2020.

17          6.      On March 18, 2020, General Order 612 issued. The Order closed each of the courthouses

18 in the Eastern District of California to the public. It further authorized assigned district court judges to

19 continue criminal matters after May 1, 2020 and excluded time under the Speedy Trial Act. General

20 Order 612 incorporated General Order 611’s findings regarding the health dangers posed by the

21 pandemic.

22          7.      On April 16, 2020, the Judicial Council of the Ninth Circuit declared a judicial

23 emergency in this District pursuant to 18 U.S.C. § 3174(d), based on the District’s “critically low

24 resources across its heavy caseload.” The report accompanying the Judicial Council’s declaration

25 analyzed the public safety dangers associated with the COVID-19 pandemic and examined both the

26 District’s caseload (the District currently ranks first in the Ninth Circuit and eighth nationally in

27 weighted filings) and its shortage of judicial resources (the District is currently authorized only six

28 district judges; two of those positions are currently vacant and without nominations). The report further

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 1 explained that a backlog of cases exists that “can only start to be alleviated” when the CDC lifts its

 2 guidance regarding gatherings of individuals.

 3          8.      On April 17, 2020, General Order 617 issued, continuing court closures through June 1,

 4 2020 and authorizing further continuances of hearings and exclusions under the Speedy Trial Act. On

 5 May 13, 2020, General Order 618 issued, continuing court closures until further notice, and authorizing

 6 further continuances of hearings and exclusions under the Speedy Trial Act through May 2, 2021.

 7 General Order 618 also confirmed the continued applicability of General Order 614 regarding

 8 implementation of the CARES Act.

 9          9.      Given these facts, it is essential that Judges in this District resolve as many matters as

10 possible via videoconference and teleconference during the COVID-19 pandemic. By holding these

11 hearings now, this District will be in a better position to work through the backlog of criminal and civil

12 matters once in-person hearings resume.

13          10.     The Judgment and Sentencing in this case accordingly cannot be further delayed without

14 serious harm to the interests of justice for the reasons stated above. If the Court were to delay this

15 hearing until it can be held in-person, it would only add to the enormous backlog of criminal and civil

16 matters facing this Court, and every Judge in this District, when normal operations resume.

17          11.     THEREFORE, the parties hereby stipulate and agree that each of the requirements of the

18 CARES Act and General Order 614 have been satisfied in this case. They request that the Court enter

19 an order making the specific findings required by the CARES Act and General Order 614. Specifically,

20 for the reasons further set forth below, the parties agree that:

21                  a)      The Judgment and Sentencing hearing in this case cannot be further delayed

22          without serious harm to the interest of justice, given the public health restrictions on physical

23          contact and court closures existing in the Eastern District of California, the fact that the

24          defendant has already entered his plea of guilty, and the additional backlog of cases that is likely

25          to increase in this district if criminal matters do not proceed by videoconference when the

26          defendant consents and a resolution has been reached between the parties.

27                  b)      Under CARES Act § 15002(b), the defendant acknowledges that he has the right

28          to be physically present for this hearing, but waives that right, and consents to proceed with a

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 1         remote hearing by videoconference.

 2                 c)      Defendant’s counsel, Chris Cosca, joins in that acknowledgment, waiver, and

 3         consent.

 4         IT IS SO STIPULATED.

 5   Dated: July 9, 2020                                      MCGREGOR W. SCOTT
                                                              United States Attorney
 6

 7                                                            /s/ JAMES R. CONOLLY
                                                              JAMES R. CONOLLY
 8                                                            Assistant United States Attorney

 9

10   Dated: July 9, 2020                                      /s/ CHRIS COSCA
                                                              CHRIS COSCA
11                                                            Assistant Federal Defender
                                                              Counsel for Defendant
12                                                            GREGORIO MORENO-VALENCIA
13

14
                                           FINDINGS AND ORDER
15

16         1.      The Court adopts the findings above.
17         2.      Further, the Court specifically finds that:
18                 a)      The Judgment and Sentencing hearing in this case cannot be further delayed
19         without serious harm to the interest of justice;
20                 b)      The defendant has waived his physical presence at the hearing and consents to
21         remote hearing by videoconference; and
22         3.      Therefore, based on the findings above, and under the Court’s authority under § 15002(b)
23 of the CARES Act and General Order 614, the Judgment and Sentencing hearing in this case will be

24 conducted by videoconference.

25         IT IS SO FOUND AND ORDERED this 14th day of July, 2020.
26

27

28

      STIPULATION REGARDING HEARING                      5
